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Attorneys for Genesis HealthCare, Inc.


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DIVISION OF MONTANA
                           BUTTE DIVISION

GINA JAEGER, individually, AND AS  ) Cause No. CV-16-30-BU-SEH
PERSONAL REPRESENTATIVE OF         )
THE ESTATE OF HER SISTER           )
CHARLENE HILL,                     )
                                   ) GENESIS HEALTHCARE, INC.’S
            Plaintiff,             ) MOTION TO DISMISS WITH
                                   ) PREJUDICE
     vs.                           )
                                   )
GENESIS HEALTHCARE, INC., d/b/a )
THE BUTTE CENTER, JOHN DOE         )
LLC’s 1-10; JOHN DOE, INC.’S 1-10, )
                                   )
            Defendants.            )
     _________________________________________________________
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      Genesis HealthCare, Inc. (“Genesis”) moves the Court to dismiss Plaintiff’s

Complaint against Genesis with prejudice. Specifically, Genesis moves the Court

to dismiss the Complaint Plaintiff mailed on June 6, 2016, in accordance with the

Federal Rules of Civil Procedure for: (1) failure to state a claim upon which relief

can be granted (Fed. R. Civ. P. 12(b)(6)); (2) lack of personal jurisdiction (Fed. R.

Civ. P. 12(b)(2)); (3) insufficient process (Fed. R. Civ. P. 12(b)(4)); and

(4) insufficient service of process (Fed. R. Civ. P. 12(b)(5)).

        Genesis respectfully requests the Court grant its motion to dismiss

Plaintiff’s Complaint with prejudice for the reasons set forth in its brief in support

of its motion to dismiss with prejudice.

      Pursuant to Local Rule 7.1(c)(1), Genesis has contacted counsel for Plaintiff.

Plaintiff objects to this motion. Peak Medical Montana Operations, LLC has no

objection and agrees the Court should dismiss Plaintiff’s complaint with prejudice.

      Dated June 30, 2016.

                                        CROWLEY FLECK PLLP


                                        /s/ Brett P. Clark
                                               Kiely Keane
                                               Brett P. Clark
                                               Charles K. Smith
                                               Attorneys for Genesis HealthCare,
                                               Inc.


 


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